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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

  Civil Action No. 17-cv-01942-WYD-MEH

  ROBERT JOHNSON,

         Plaintiff,

  TYLER SIMONSON, in his individual capacity;
  ST. MARY’S HOSPITAL & MEDICAL CENTER, INC., a Colorado non-profit corporation; and
  HSS INC., a Colorado corporation,

         Defendants.


                  MOTION TO WITHDRAW AS COUNSEL FOR PLAINTIFF


         Undersigned counsel, as attorney of record for Plaintiff Robert Johnson, hereby submits

  his Motion to Withdraw as Counsel for Plaintiff and states the following in support.

                                           CONFERRAL

     1. Counsel for Plaintiff conferred with counsel for Defendants prior to filing this motion.

         Counsel for Defendants indicated that they do not object to the relief sought herein.

                                            ARGUMENT

     2. Under D.C.COLO.LAttyR5(b), an attorney who has filed an Entry of Appearance or who

         has otherwise appeared in a case “may seek to withdraw on motion showing good cause.”

         See also Schudel v. Miller, 2013 U.S. Dist. LEXIS 105904, at *3 (D. Colo. July 29, 2013)

         (“Simply stated, the Court cannot compel an attorney to represent a litigant in a civil

         action”).

     3. The local rules further dictate that a motion to withdraw “must state the reasons for

         withdraw, unless the statement would violate the rules of professional conduct.”

         D.C.COLO.LAttyR5(b) (emphasis added); see also Lawrence v. Sch. Dist. No. 1, In the
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        City & County of Denver, 2014 U.S. Dist. LEXIS 170752, at *17 (D. Colo. Dec. 10,

        2014).

     4. Where an attorney cannot provide the reasons for his or her decision to withdraw, it is

        sufficient that the motion to withdraw simply contain a “statement to the effect that

        irreconcilable differences between [the client and the attorney] exist [as how to proceed

        with the litigation].” See Lawrence, 2014 U.S. Dist. LEXIS at *17.

     5. In the instant case, the Colorado Rules of Professional Conduct prohibit counsel from

        fully disclosing the reasons why he seeks to withdraw. See D.C.COLO.LAttyR2(a)

        (explaining that the United States District Court for the District of Colorado has adopted

        the Colorado Rules of Professional Conduct).

     6. Nevertheless, counsel represents to the Court that he is obligated to withdraw as counsel

        in light of the irreconcilable differences that exist between himself and Plaintiff, and

        pursuant to the obligations imposed on him by D.C.COLO.LAttyR2(b).

     7. Upon filing this Motion, and in accordance with D.C.COLO.LAttyR5(b), counsel will

        provide notice to Plaintiff that he is personally responsible for complying with all court

        orders and time limitations established by applicable statutes and rules.

                                              CONCLUSION

     8. Based on the foregoing arguments and representations, counsel for Plaintiff respectfully

        requests that the Court grant the relief requested in this Motion.

                 Dated this 23rd day of May, 2018.

                                                      /s/ Julian G.G. Wolfson
                                                      Julian G.G. Wolfson
                                                      LAW OFFICE OF JULIAN G.G. WOLFSON, LLC
                                                      1630 Welton Street #727
                                                      Denver, CO 80202.
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                                                    jwolfsonlaw@gmail.com

                                                    Attorney for Plaintiff

                                    CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 23rd day of May, 2018, the foregoing MOTION TO
  WITHDRAW AS COUNSEL FOR PLAINTIFF was filed with the Clerk of the Court using
  the CM/ECF system and served on the following individuals:

  Richard L. Murray, Jr.
  HALL & EVANS, L.L.C.
  Murrayr@hallevans.com

  Attorney for Defendant HSS Inc.

  Eric M. Ziporin
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  Eziporin@sgrllc.com

  Attorney for Defendant Tyler Simonson

  Catherine O’Brien Crum
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  Attorney for Defendant St. Mary’s Hospital & Medical Center, Inc.




                                                           /s/ Julian G.G. Wolfson




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